Case 2:03-CV-02568-BBD-tmp Document 278 Filed 05/03/05 Page 1 of 8 Page|D 251

IN THE UNITED sTATES DISTRICT §§me 4
FoR THE wESTERN DISTRICT oF TENN:~;'.SSEE; '. ri¥“

WESTERN DIVISION

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EDGAR JOHNS oN,

Plaintiff,

HOME TECH SERVICES CO., INC.,

et al.,

Defendants.

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03 CV 2567 D/P

 

CHARLENE SPINKS,

Plaintiff,

V.

HOME TECH SERVICES CO., INC.,

et al.,

Defendants.

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03 cv 2568 D/P i/

 

BOBBIE J. CARR,

Plaintiff,

V’.

HOME TECH SERVICES CO., INC.

et al.,

Defendants.

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03 CV 2569 D/P

 

ORDER GRANTING PLAINTIFFS' RENEWED MOTIONS TO EXCEED TEN
DEPOSITIONS, GRANTING MOTIONS TO AMEND SCHEDULING ORDER, AND
GRANTING DEFENDANTS MOTIONS FOR PROTECTIVE ORDERS

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Before the court are the following' pretrial motions: (l)
Plaintiffs' Renewed Motions to Exceed Ten Depositions (Johnson dkt
#219; Spinks dkt #206; and Carr dkt #269); (2) Plaintiffs' Motions
to Amend the Scheduling Order (Johnson dkt #216; Spinks dkt #195;
Carr dkt #260); and (3) Defendants' Motions for Protective Orders
(Johnson dkt #225; Spinks dkt #227, 233, 235; Carr dkt #285, 291).
On March 3, 2005, the court held a hearing on these motions.
Counsel for all parties were present and heard. For the reasons
helow, Plaintiffs’ motions to exceed ten depositions and motions to
amend the scheduling order are GRANTED, and Defendants' motions for
protective orders are GRANTED.

I. PLAINTIFFS' RENEWED MOTIONS TO EXCEED TEN DEPOSITIONS

In August 2004, Plaintiffs filed their original motions to
exceed ten depositions. At a hearing on October 21, 2004, the
Court denied those motions without prejudice. The court found
that, at that timer the Plaintiffs failed to make a particularized
showing of why they needed the extra depositions. The motions were
denied without prejudice, and the court instructed Plaintiffs that
if they wanted to renew their motions in the future, they had to
specifically (l) identify the witnesses who have already been
deposed and the pertinent information each witness provided; (2)
explain what additional information the Plaintiffs seek; and (3)
identify the additional witnesses who Plaintiffs want to depose and

explain why Plaintiffs believe these witnesses will provide the

additional information.

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Each plaintiff has now deposed nine to eleven individuals and
corporate representativesl Johnson now wants to depose two more
individualsr Earnest Wells, Jr. and Marlene Williams, stating that
they have information about Johnson's transaction, either in the
loan making process, closing, or home improvements. Spinks wants
to depose Nina Townes and Marlene Williams, claiming that they have
information about Spinks’s transaction, either in the loan making
process or regarding her desire to make home improvements. Carr
wishes to depose Nina Townes, Marlene Williams, and Richard Lucas.
Carr claims that these individuals have information about Carr's
transaction, either inn the loan making process, closing, or
participation in the equity savings plan. Additionally, Spinks and
Carr want to depose three other employees of NovaStar because
Plaintiffs claim the corporate representatives produced as Rule
30(b)(6) designees did not have knowledge of the information sought
by Plaintiffs, and that during these 30(b)(6) depositions, these
witnesses identified these three individuals as person who may have
relevant information. Plaintiffs also suggest that they may need

more depositions in the future.

The Federal Rules of Civil Procedure limit parties to a total

 

' Each Plaintiff deposed Memphis Financial Services, Home
Tech Services, Worldwide Mortgage Corp., Gregg Drew, Earnest
Wellsr Sr., and Chandra Wells. Plaintiff Edgar Johnson deposed
Wachovia Bank, Equity Title and Escrow, Steven Winkel, and Cary
Califf. Plaintiff Charlene Spinks deposed NovaStar Mortgage,
Carla Brooks, and Pam Brown. Plaintiff Bobbie Carr deposed
NovaStar Mortgage, Equity Title and Escrow, Economic Advantages,

Steven winkel, and Sandra Wells.

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of ten depositions per side. Fed. R. Civ. Pro. 30(a)(2)(A); see
also AT Home Corporation v. Leo Burnett, lnc., No. 04-0931, 2005 WL
289976, at *3 (N.D. Cal. Feb. 4, 2005) (unpublished) (“Rule
30(a)(2)(A) requires that a party obtain leave of court

before taking depositions in excess of the limit of ten per
side.”). A party must obtain leave of court to conduct more than
ten depositions, and such leave shall be granted to the extent

consistent with the principles of Rule 26(b)(2). Id. Rule

26(b)(2) states:

The frequency or extent of use of discovery methods

shall be limited by the court if it determines that: (i)
the discovery sought is unreasonably cumulative or
duplicative, or is obtainable from some other source that
is more convenient, less burdensome, or less expensive;
(ii) the party seeking discovery has had ample
opportunity by discovery in the action to obtain the
information sought; or (iii) the burden or expense of the
proposed discovery outweighs its likely benefit, taking
into account the needs of the case, the amount in
controversy, the parties' resources, the importance of
the issues at stake in the litigation, and the importance
of the proposed discovery in resolving the issues.

Fed. R. Civ. P. 26(b)(2).

A party seeking to exceed the presumptive number of
depositions must make a “particularized showing of why the
discovery is necessary.” Archer Daniels Midland Co. v. Aon Risk
Servs.l Inc. 187 F.R.D. 578, 586 {D. Minn. 1999); see also ln*re
Air Crash at Taipei, 2003 U.S. Dist. LEXIS 23220 (D.D. Cal. 2003)
(unpublished); Barrow v. Greenville Indep. School Dist., 202 F.R.D.

480, 482 (N.D. Tex. 2001); Whittingham v. Amherst ColleQe, 163

F.R.D. 170, 171 (D. MaSS. 1995).

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As an initial matter, the Plaintiffs' renewed motions could
have and should have provided the court with more specific
information regarding the depositions taken thus far and why they
need the additional depositions. However, at the March 3 hearing,
Plaintiffs provided some additional information which the court
finds is sufficient to support the renewed request to depose
Earnest Wells, Jr., Marlene Williams, Nina Towns, and Richard
Lucas. Therefore, the court GRANTS Plaintiffs’ renewed motion with
respect to these witnesses. As for' NovaStar's Rule 30{b)(6)
witnesses, Plaintiffs Carr and Spinks have already deposed two
designees, and now want to depose at least three more NovaStar
witnesses. Because Plaintiffs have already taken two depositions
of NovaStar, the court will only allow Plaintiffs Carr and Spinks
to each take one additional deposition of NovaStar’s witnesses.

If additional depositions are necessary, Plaintiffs must file
a motion with the court and must make a particularized showing of
why the additional depositions are necessary.

II. PLAINTIFFS' MOTION TO AMEND SCHEDULING ORDER
AND DEFENDANTS' MOTIONS FOR PROTECTIVE ORDER

Plaintiffs seek to amend the scheduling order to allow all
parties additional time to complete discovery, disclose experts,
and file dispositive motions. Defendants also ask for additional
time to disclose defense experts and file dispositive motions, but
oppose any extension of the discovery deadlines.

Based on the entire record, and for good cause shown, the
motions to amend the scheduling orders are GRANTED and the motions

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for protective orders are GRANTED in part and DENIED in part, as
follows:

Completing all discovery: July l, 2005

Plaintiffs’ expert disclosures: August l, 2005

Defendants' expert disclosures: September l, 2005

Expert depositions: October l, 2005

Filing dispositive motions: November l, 2005

IT IS SO ORDERED.

 

 

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TU M. PHAM
United States Magistrate Judge
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Date ' l

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 278 in
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Bruce E. Alexander

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th floor

Washington, DC 20036--160

Robert B. Hale

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Mitchel H. Kider

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th floor

Washington, DC 20036--160

Sapna V. Raj

1\/[E1\/lPH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

Virginia M. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

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Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/1emphis7 TN 38103

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Roscoe Porter Feild

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/1emphis7 TN 38103

Louis F. Allen

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Webb A. Brewer

1\/[E1\/lPH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

